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 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA

 8

 9   UNITED STATES OF AMERICA,                      )
                                                    )
10                  Plaintiff,                      )
                                                    )
            vs.                                     )           2:06-cr-00239-RCJ-PAL
11
                                                    )
                                                    )                   ORDER
12   DOMININIC DAVIS, et al.,                       )
                                                    )
13                  Defendants.                     )
                                                    )
14                                                  )

15          Defendants Dominic Davis and Harlon Jordan were convicted of brandishing a firearm

16   during, in relation to, and in furtherance of a conspiracy to commit bank robbery under 18 U.S.C.

17   § 924(c). They moved for relief from these convictions pursuant to 28 U.S.C. § 2255, claiming

18   that their convictions are improper under Johnson v. United States, 135 S. Ct. 2551 (2015). In

19   Johnson, the Court invalidated the residual clause of the Armed Career Criminal Act. At the time

20   of their original motions, the Ninth Circuit held that the Supreme Court has not yet recognized

21   whether Johnson also invalided the residual clause in § 924(c)(3)(B). This Court denied these mo-

22   tions, and both Defendants appealed. During the course of the appeal, the Supreme Court held that

23   the residual clause under § 924(c)(3)(B) was also unconstitutional in United States v. Davis, 139

24   S. Ct. 2319 (2019). Defendants therefore filed renewals of their § 2255 motions based upon Davis.

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 1   (ECF Nos. 255 and 256.) The Ninth Circuit has since affirmed the Court’s denials of their under-

 2   lying motions and considered Davis. (ECF No. 257.) For this reason, the Court denies the renewals

 3   as moot.

 4                                           CONCLUSION

 5          IT IS HEREBY ORDERED that Motion to Vacate, Set Aside, or Correct Sentence under

 6   28 U.S.C. 2255 (ECF No. 255) is DENIED AS MOOT.

 7          IT IS FURTHER ORDERED that Motion to Vacate, Set Aside, or Correct Sentence under

 8   28 U.S.C. 2255 (ECF No. 256) is DENIED AS MOOT.

 9          IT IS SO ORDERED.

10          Dated November 8, 2021.

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12                                               _____________________________________
                                                           ROBERT C. JONES
13                                                      United States District Judge

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